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A0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                             UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE

                                                                CASE NUMBER:         8:06-cr-349-T-30MAP
                                                                USM NUMBER:          48886-018



STEVE BERRY
                                                                 Defendant's Attorney: Pedro Amador, Jr.

THE DEFENDANT:

-
X pleaded gu~ltyto count(s) ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count($ after a plea of not guilty.
TITLE & SECTION                      NATURE OF OFFENSE                             OFFENSE ENDED                       COUNT

                                     Conspiracy to Possess With Intent to      March 8, 2006                            One
                                     Distribute and to Distribute Five Hundred
                                     (500) Grams or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Refom Act of 1984.

- The defendant has been found not guilty on count(s)
- Count($ (is)(are) dismissed on the motion of the United States
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                   Date of Imposition of Sentence: February 13, 2007




                                                                                   DATE: February    A         2007
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A 0 215B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:         STEVE BERRY                                                                    Judgment - Page 2of 6
Case No. :         8:06-cr-349-T-30MAP

                                                             IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $5
3553(a)(1)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of ONE HUNDRED and THIRTY-FIVE (135) MONTHS as to Count One of the Indictment.



 X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(FL). The defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.


-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender lo the United States Marshal for this district.

          - at -a.m./p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -,
          - as notified by the United States Marshal.
          - as notiiied by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to

- at                                                                              , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                     By:
                                                                                         Deputy United States Marshal
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A 0 245B (Rev. 06/05)Sheer 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         STEVE BERRY                                                                          Judgment - Page 3 of 6
Case No.:          8:06-cr-349-T-30MAP
                                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS
as to Count One of the Indictment.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation officer;

          the defendant shall report to the probation officer and shall submit a truthful and co~tipletewritten report within the first five days of each
          month:

          the defcndant shall answer truthfully all inquiries by [he probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and nicet othcr family responsibilities;

          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons:

          the defendant shall notill the probation officer at least ten days prior to any change in residence or employment;

          the defendant shall rcfrain from excessive use of alcohol and shall not purchase, possess. use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prcscribcd by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

          the defendant shall not associate with any persons cngnged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted pennission to do so by the probation officer;

          the defendant shall pcnnit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband obsenrcd in plain view of the probation ofticer;

           the dct'endant shall noticy the probation officer within seventy-twn hours of being arrested or questioned by a law enforcement officer;

          the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission ofthe court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit thc probation ofticer to tnakc such notifications and to continn the defendant's
           compliance with such notification requirement.
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A 0 245B (Rev, 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        STEVE BERRY                                                               Judgrnent - Page 4of 6
Case No.:         8:06cr-349-T-30MAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

-
X        Defendant shall participate in a program (outpatient and/or inpatient) for treatmentof narcotic addiction or drug or alcohol
         dependency and follow the probation officer's instructions regarding the implementation of this court directive. Further, the
         defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
         reasonable by the Probation Officer based on ability to pay or availability of third party payment and in conformance with
         the Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol
         dependency treatment program the defendant is directed to submit to resting for the detection of substance use or abusenot
         to exceed 104 test per year.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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 A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

 Defendant:         STEVE BERRY                                                                 Judgment - Page 5 of 6
 Case No. :         8:06-cr-349-T-30MAP

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                          -
                                                                 Fine                           Total Restitution

          Totals:            $100.00                             Waived                         N/A


-         The determination of restitution is deferred until         .         An Amended Judgmerzt in a Criminal Case ( A 0 245C) will
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
          3664(i). all non-federal victims must be paid before the dnited States.


 Name of Pavee                                 Total Loss*                     Restitution Ordered              Priority or Percentwe




                             Totals:           L                               $


 -        Restitution amount ordered pursuant to plea agreement          $ .

 -        The defendant must pay interest on a fine or restitution of more than $2.500. unless the restitution or fme is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 8 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U .S .C. 5 36 12(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine          - restitution.

         -          the interest requirement for the - fme - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 1OA, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05)Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        STEVE BERRY                                                              Judgment - Page 6of 6
Case No. :        896-cr-349-T-30MAP


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.       -
         X        Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                      . or
                            -in accordance -C, - D, - E or - F below: or
B.       -         Payment to begin immediately (may be combined with -C. -D. or -F below); or
C.       -        Payment in equal                  (e .g ., weekly, monthly, quarterly) installments of $             over a
                  period of          (e .g., months or years), to commence                days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal
                  period of
                                                             .
                                                  (e.g . weekly, monthly. quarterly) installments of $               over a
                               . (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                          (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment in~posesimprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties. except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States inmediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
